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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                           Case No. 20-21553-Civ-COOKE/GOODMAN

  PATRICK GAYLE, et al.,

         Petitioners-Plaintiffs, on behalf of
         themselves and those similarly
         situated

  v.

  MICHAEL W. MEADE, et al.,

        Respondents-Defendants.
  ____________________________________/

  PETITIONERS-PLAINTIFFS’ NOTICE OF FILING DECLARATIONS OF PROPOSED
                  NEW NAMED PETITIONERS-PLAINTIFFS


         Petitioners-Plaintiffs hereby give notice of filing the declarations of the proposed new

  named petitioners-plaintiffs referenced in their motion to add new petitioners-plaintiffs (ECF 60),

  pursuant to the Court’s order of April 22, 2020 (ECF 62).



  Dated: April 22, 2020

                                        Respectfully submitted,
                                        By: /s/ Rebecca Sharpless

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                                   CERTIFICATE OF SERVICE

     I HEREBY CERTIFY, that on April 22, 2020, I filed the foregoing document with the Clerk

  of the Court for the U.S. District Court for the Southern District of Florida via the CM/ECF

  electronic filing system. I also certify that the foregoing document is being served this day on all

  counsel of record or pro se parties, either via transmission of Notices of Electronic Filing generated

  by CM/ECF or in some other authorized manner for those counsel or parties who are not authorized

  to receive electronically Notices of Electronic Filing.


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